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                                             August 22, 2008




TPR Investment Associates, Inc.
c/o Trans-Resources. Inc.
200 West 571h Street
Ne\\< York. NY l 0019

Gentlemen:

                 Reference is hereby made to that certain Stock Purchase Agreement
(the .. Purchase Agreement") entered into as of the date hereof, by and among TR
Investors, LLC, a Delaware limited liability company ('·TR Investors"), Glenclova
Investment Co., a Cayman Islands corporation, ("Glenclova"), New TR Equity I,
LLC, a Delaware limited liability company ('·Equity I'') and New TR Equity II,
LLC, a Delaware limited liability company ('"Equity II" and collectively with TR
Investors. Glenclova and Equity L the "Purchasers"), the Sagi Genger 1993 Trust
("Seller'·). and TPR Investment Associates, Inc., a Delaware corporation ("TPR").
Capitalized terms not otherwise defined in this letter shall have the meaning assigned
to them in the Purchase Agreement.

                 In connection \\<ith the transactions contemplated by the Purchase
Agreement. if at any time following the Closing Date, it is determined that Arie
Genger is not the record and beneficial owner of the 794.40 shares of Common Stock
of the Company purportedly transferred to him by TPR in October, 2004 and/or that
Orly Genger 1993 Trust is not the record and beneficial owner of the 1,102.80 shares
of Common Stock ofthe Company purportedly transferred to such Trust by TPR in
October, 2004, and that TPR is the record or beneficial owner of any such shares, in
either or both cases by virtue of the transfer of such shares being deemed to have
been void or for any other reason (the shares being so effected being referred to
herein as the "Affected Shares") then (a) upon written request from the Purchasers,
TPR shall promptly take all necessary action to effect the transfer of all Affected
Shares (other than the Balance Shares to be transferred pursuant to Section 11 of the
Purchaser Agreement) to the Purchasers in the same proportion as the Shares are
being sold to them pursuant to the Purchase Agreement, for a price per share equal to
the lesser of (i) the value of each Affected Share at the time of the October 2004
purported transfers (the ..Transfer Date") based upon an aggregate value for all of the
issued and outstanding shares of Common Stock of the Com pan) of $55.000,000 (as
determined in the arbitration proceedings between Arie Genger and Dalia Genger by
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Judge Milonas or such other arbitrator). or (ii) the valuation of each Affected Share
at the Transfer Date determined in accordance with the Stockholders Agreement
(provided that the determined valuation shall not be deemed to be the $1.00 for
which the Affected Shares were transferred by TPR).

         In consideration of the foregoing. the parties hereby acknowledge and agree.
that (i) within ten ( 10) days after delivery of the stock certificates required by
Section 2.1(c) ofthe Agreement. Purchasers shall cause to be filed an amended
complaint or. if necessary. a motion to file an amended complaint. in the action
styled Glenclova Investment Co. v. Trans-Resources. Inc. and TPR Investment
Associates. Inc .. Case No. 08-CIV -7140 (JFK). pending in the United States District
Court for the Southern District ofNe\\< York. which shall limit the plaintiffs request
for relief from TPR to specific performance of the Stockholders Agreement and
related declaratory relief, and not seek damages or monetary relief from TPR and (ii)
in the event that plaintiff is not awarded the specific performance referenced above.
TPR hereby, assigns all of its right. title and interest in and to any claims or causes of
action that TPR may have or may have had against Arie Genger and/or the Orly




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Genger 1993 Trust relating to, or arising from, the purported transfer of shares of
Common Stock of the Company from TPR to such persons.

                     Please signify your agreement to the terms of this letter by signing
below.
                                                  Sincerely,

                                            TRINVEST


                                                 Name: Ji
                                                 Title: Executive Vice-President

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                                                          J          ~ "'/
                                                                                                       1

                                            By
                                                 Name: obert Smtth
                                                 Title: Chairman


                                            NEW TR EQUITY I, LLC

                                            By~~~
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                                                          /111-12!< (,           t.:o+
                                                 Title:   E.: Cc..   II? ) c;.c:/V   IL..   c. ...,;t;.> c- L




Acknowledge and Agreed
as of August 22, 2008




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   Name: Sagi Genger
   Title: President
